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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

LAURA EWING,                                    )
                                                )
                            Plaintiff,          )
                                                )
                       v.                       )    No. 1:18-cv-01743-WTL-DML
                                                )
MED-1 SOLUTIONS, LLC,                           )
                                                )
                            Defendant.          )

                       Order Regarding Discovery Disputes

         Under Fed. R. Civ. P. 37(a)(1) and S.D. Ind. L.R. 37-1(a), counsel must confer

in good faith to resolve a discovery dispute before involving the court in the dispute.

If counsel have exhausted those efforts without resolving the dispute they must

seek a discovery conference with the magistrate judge before the filing of a formal

motion to compel or contested motion for protective order in the manner set forth

below:

         a)    Discovery disputes generally. Except in the circumstances covered by

(b) and (c) below, counsel must (1) jointly or unilaterally file a motion for a discovery

conference, setting forth very briefly and without argument the nature of the

dispute or (2) jointly contact the magistrate judge’s chambers to request a

conference. If the latter, the court staff may direct counsel to provide a brief

description of the dispute. Counsel must not unilaterally contact the magistrate

judge’s chambers regarding a discovery dispute absent compelling circumstances.
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      b)        Disputes involving the failure to make any timely response whatsoever

to a written discovery request. In this circumstance, the requesting party must still

comply with the requirements of Fed. R. Civ. P. 37(a)(1) and S.D. Ind. L,R. 37-1(a)

to confer in good faith to resolve the matter, but counsel for the requesting party is

not required to seek a discovery conference with the magistrate judge before filing a

motion to compel.

      c)        Disputes involving an objection raised during a deposition that

threatens to prevent the completion of the deposition. Counsel must telephone the

magistrate judge’s chambers to determine whether the magistrate judge is available

to hear argument and rule on the objection on the record of the deposition.

Although S.D. Ind. 37-1 provides that pro se parties are not generally subject to the

requirements of the rule, Magistrate Judge Lynch encourages the parties to follow

this procedure for deposition objections involving pro se litigants or deponents if the

objection threatens to prevent the completion of the deposition.

           So ORDERED.

        Date: 8/21/2018               ____________________________________
                                         Debra McVicker Lynch
                                         United States Magistrate Judge
                                         Southern District of Indiana




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